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lN THE UNITED STATES DISTR!CT COUR'I`
FOR THE DISTRECT OF COLUMBIA

 

 

)
DJB HOLDINGS LLC, )
)
Plaintit`i", )
)
v. ) Civil Action No. 17~613
)
DARW[N NATIONAL ASSURANCE )
COMPANY, ' )
)
Defendant. )
)
ORDER

This matter comes before the Court on the Joint Motion to Clarit`y Date for Submission of
Joint Discovery Plan tiled by Plaintifi" DJB Hoidings LLC and Det`endant Darwin National
Assurance Colnpany (now known as Al!ied Worid Specialty Assurance Company). Upon
consideration of the motion, the lack of opposition thereto and the record herein, it is hereby
ORDERED that:

1. The Motion is GRANTED; and

2. The C.ourt clarifies that the date i"or submission ot` the parties’ Joint Discovery
Plan is July 7, 201 7, which is the date that the parties and the Court set on the record at the June

14, 2017 Status conference

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